Case 1:16-cv-00284-LPS Document 569 Filed 04/05/24 Page 1 of 1 PageID #: 30785
                                       OFFICE OF THE CLERK
                            UNITED STATES DISTRICT COURT
                                     DISTRICT OF DELAWARE
                                                                           844 North King Street, Unit 18
   Randall C. Lohan                                                         Wilmington, DE 19801-3570
  CLERK OF COURT                                                              www.ded.uscourts.gov
                                                                                 (302) 573-6170

                                           April 5, 2024
VIA REGULAR MAIL & CM/ECF

Steven L. Caponi
K&L Gates LLP
600 N. King Street
Suite 901
Wilmington, DE 19801

       RE:      Siemens Mobility, Inc. v. Westinghouse Air Brake Technologies Corporation
                et al
                CA. 1:16-cv-284-LPS
Dear Counsel:

        The Clerk's Office is returning and/or disposing of exhibits located in its storage area in
accordance with the Court’s Local Rule 79.1 (b)(2).
        Presently we have the following: one box and two physicals of Defendant’s admitted
trial exhibits in the above-mentioned case to return to you. Please contact the undersigned to
schedule pick-up of these exhibits or disposal.

       Please advise me no later than May 5, 2024, whether you wish to retrieve the exhibits
or have them discarded. If the latter, I will need written consent.

        Please contact Michael Banenas at (302-573-4566) to arrange pick-up of exhibits. We
will prepare the exhibits for your retrieval and contact you when they are ready for pick-up.

                      Sincerely,


                      By: s/        ______
                       Michael Banenas
                       Deputy Clerk
